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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - -- - -- - -- - -- - --- - -- - -- - -- ---- - -- - -- -- -- - -- - -- - - -- - -- - - - -- -- - x                  ECF Case
DENISE DIAZ

                                                                         Plaintif,                                             13 CV 8281 (PAC)
              -against-

                                                                                                                               COMPLAINT
CITY OF NEW YORK,
JOSE FLORES, individually and in his official
capacity as Investigator for the New York                                                                                      Jury   Demand
County District Attorney's Office,
JOHN DOE 1, individually and in his official
capacity as Police Officer in the NYPD, and
JOHN DOE 2, individually and in his offcial
capacity as an Officer in the NYPD or the
New York City District Attorney's Office,

                                              Defendants.
---------------------------------------------------------------- x

              Plaintiff, Denise Diaz, by her attorney Ricardo A. Aguirre, Esq., complaining of the

Defendants, hereby alleges as follows:

                                                                        Preliminary Statement

               1. This is a civil rights action brought by Plaintiff Denise Diaz, to seek relief for


Defendants violation of her rights, privileges and immunities secured by the Civil Rights Act of

1817, 42 U.S.C. § 1983, the Fourth and Fourteenth Amendments of the United States

Constitution, and the common laws and Constitution of                                                           the State of     New York.

               2. Plaintiff Diaz brings this action to seek redress for acts of unlawful and

discriminatory administrative practices, policies and actions by Defendants' that caused Plaintiff

to be unlawfully arrested, her home unlawfully searched, her property unlawfully seized, her

reputation defamed and experience loss of career benefits, wages and opportnities. Plaintiff
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seeks actual, compensatory and punitive damages, injunctive and declaratory relief, and such

other relief as this Cour deems just and equitable.



                                                          THE   PARTIES

              3. Plaintiff Denise Diaz ("Plaintiff' or "Ms. Diaz") is a female American citizen of


Puerto Rican decent that resides in the County of                    the Bronx and the City and State of   New York.

Plaintiff Diaz is also a Sergeant in the New York City Police Department.

              4. Defendant City of New York is a municipal corporation duly incorporated under


the laws of the State of New York. It operates the New York City Police Deparment ("NYPD")

a department or agency of Defendant City of New York responsible for the appointment,

training, supervision, promotion and discipline of police offcers and supervisory police offcers,

including the individually named defendants herein.

              5. Defendant City of New York also operates New York City Distrct Attorney's

Offices, a deparment or agency of Defendant City of New York responsible for the appointment,

training, supervision, promotion and discipline of assistant district attorneys and supervisory

assistant district attorneys, and their investigators, including the individually named defendants

herein.

              6. At all times relevant, Defendant Jose Flores ("Defendant Flores"), was an

investigator employed by the New York County District Attorney's Offce.

              7. At all times relevant herein, Defendat Flores was acting as an agent, servant and


employee of         Defendants City of              New York and the New York County District Attorney's Offce

and is being sued in his individual and official capacity.


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        8. At all times relevant, Defendant John Doe #1, was an offcer or supervisor

employed by Defendant City of New York and the NYPD, was acting as an agent, servant and

employee for said defendant and is being sued in his individual and offcial capacity.

        9. At all times relevant, Defendant John Doe #2, was an offcer or supervisor

employed by Defendant City of New York and the NYPD or the New York County Distrct

Attorney's Office, and was acting as an agent, servant and employee for said defendant and is

being sued in his individual and offcial capacity.

        10. At all times relevant herein, all individual defendants were acting under color of

state law.

        11. Defendants are "persons" within the meaning of 42 U.S.C. §2000e (a).




                                         JURISDICTION AND VENUE

        12. This Cour has               jursdiction over this action pursuant to 28 U.S.C. §§ 1331, 1343

and 1367 (a).

        13. Plaintiffs fuher invoke this Cour's supplemental jursdiction, pursuat to 28


U.S.c. 1367, for any and all state constitutional and state claims and common law violations

pursuat to 28 U.S.C. § 1367, as the common law claims form par of the same case or

controversy.

        14. Venue is proper             pursuat to 28 U.S.c. § 1391           (b) and (c).




                                                    JURY        DEMAND




        15. Pursuant to Rule 38(b) of                  the Federal Rules of    Civil Procedure, Plaintiff


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demands a trial by jur in this action on each and every one their claims.



                                                             NOTICE OF CLAIM

            16. Pursuant to the "Continuous Tort Theory", within ninety days afer NYPD failed


to restore her to full duty after her second request, Plaintiff Diaz fied a Notice of Claim upon

Defendant City of               New York by delivering copies of        the notices to the person designated by law

as a person to whom such claims may be served.

            17. The Notice of                    Claim was in wrting, sworn to by Plaintiff and contained

Plaintiffs name and address.

            18. The Notice of Claim set out the nature of the claims, the time when and the place

where and maner by which the claim arose, and the damages and injures claimed to have been

sustained by Plaintiff.

            19. The City of                  New York has neglected and failed to adjust the claims within the

statutory time period.



                                               FACTS COMMON TO ALL COUNTS

            20. At approximately 7:50 a.m. on or about November 24, 2010, Plaintiff Diaz'

common-law husband, George Castro was arested for grand larceny outside the vicinity

Plaintiff s residence by law enforcement offcials.

            21. Plaintiff Diaz left here residence, approached the offcers and inquired "What's


going on?"

            22. Investigator Michael Wigdor ofthe New York City District Attorney's Offce told



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her, "Mind your business. Go back inside! This has nothing to do with you!"

       23. PlaintiffDiaz then identified herself                 to Investigator Wigdor as an NYPD offcer.

With that they both proceeded to her residence where Plaintiff produced her NYPD identification

card. In tum, Investigator Wigdor contacted Assistant District Attorney Patt O'Conner and

stated they would need a search warant.

       24. Durng the interim, several other offcials from the NYC District Attorney's

Office and NYPD arved at Plaintiffs residence.

       25. Plaintiff contacted her union attorney, Andrew Quinn, who, telephonically

directed the officials not to conduct a search without fully executed warant.

                                                       False Arrest

       26. On or about 8:30 a.m., without probable cause or an arest warant, Defendant

Flores stated loudly that Claimant was "associating with a known felon" and subsequently

informed the NYPD Duty Captain that Plaintiff Diaz was "Under!"

       27. The term "Under" in police jargon signifies that a person was under arest.

       28. After conferrng with Defendant Flores, Defendant John Doe #1, Duty Captain of


the 45th Precinct, without probable cause or an arest warant, directed that Plaintiff Diaz be

placed in custody, without her consent, against her will and with the intent to deprive her of her

freedom and liberty, and had her escorted and transported by Sergeant Anthony Borell (Union

Delegate) to the 43rd Precinct for interrogation.

                                                   Unlawful Imprisonment

       29. At approximately 8:50 a.m. on November 24,2010, PlaintiffDiaz was placed in a


police room at the 43rd Precinct and was not allowed to leave.


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       30. Two Internal Affairs Bureau (lAB) sergeants from lAB - Group 10 were posted

in said police room and guaded Plaintiff Diaz to prevent her from leaving.

       31. Plaintiff Diaz could not go to the bathroom without being escorted by a police


offcer and was not allowed to place a telephone calL.

       32. Plaintiff Diaz received the same treatment as the prisoners that are arested and


held against their wil at a precinct.

       33. At approximately 7:05 p.m. on November 24, 2010, Plaintiff Diaz was released


from custody at the 43 Precinct without being charged with a crime or violation.

                                    Unlawful Search and Seizure


        34. At approximately 3:00 p.m. on November 24, 2010, while in custody at the 43rd

Precinct, union delegate Anthony Borelli informed Plaintiff Diaz that the District Attorney's

office obtained a search warant for her residence and Defendant John Doe #2 conducted the

illegal search and seizue.

        35. Plaintiff indicated to Borell that she wanted to be present in her home when the


offcers commenced the search of the premises. She was told she could not leave the precinct.

        36. Plaintiff Diaz then requested to see and inspect the search warant before the


search was commenced. That request was also denied.

        37. Upon retuing home that evening , plaintiff Diaz discovered that the offcials

removed her home computer, two laptop computers, $5,000 in cash, personal financial and

insurance documents, credit cards, three cameras, undeveloped film rolls, and money that

adorned plaintiffs religious arifacts.

        38. To date, none ofthese items have ever been retued.



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       39. Furthermore, said offcials did not leave nor did they ever furnish Plaintiff with a

copy of the search warant.

       40. Several months later, George Castro's defense attorney demanded a copy of said


search warant. The District Attorney's offce forwarded a copy of the warant to Mr. Castro's

attorney. A of said search warant was eventually forwarded to Plaintiff Diaz.

       41. Upon inspection, the information in the search warant clearly indicates that the

warant was not drafted or executed on November 24, 2011.

       42. Said information could not have been known the day Plaintiff Diaz was arested


and unlawflly imprisoned.


       43. Furhermore, the warant does not indicate which                          judge authorized and signed the

warant.

                                                            Present Situation


       44. Prior to November 24, 2010, Plaintiff Diaz was an exemplar offcer and

supervisor in NYPD.

       45. Plaintiff Diaz never received a disciplinar complaint in her 17 year career and


always received exceptional evaluations.

       46. Plaintiff was respected and regarded as an excellent and knowledgeable offcer by


her supervisors, and was studying for the Lieutenant's promotional examination.

       47. However, since November 24,2010, Plaintiff                           Diaz has had her weapon and shield

stripped by NYPD and never retued to full duty; even though she has never been charged

criminally or administratively by District Attorney's Offce or NYPD.

       48. Plaintiff Diaz has been subjected to numerous interviews by the District




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Attorney's Office and the Internal Affairs Bureau in NYPD.

        49. PlaintiffDiaz has been assigned to the undesirable "Viper Unit" with officers that


are considered disciplinary problems, and where one's career virtually ends in NYPD. She is

treated differently if she calls in sick. As a practice, other officers that call in sick are allowed to

leave their residence without permission from the NYPD Sick Desk. Plaintiff Diaz, however,

must get permission from the NYPD Sick Desk to leave her home and must provide them with a

contact number. She is subjected to unreasonable NYPD monitoring.

        50. Plaintiff Diaz has inquired on two separate occasions as to why she has not been


placed back on full duty, but NYPD has never responded.

        51. Yet, other offcers that have committed egregious offenses, including but not


limited to police brutality, excessive force, dru driving, domestic violence, etc., not only kept

their guns and shields, but were quickly placed back on full duty once the matter was

adjudicated.

        52. Because of said assignment, Plaintiff Diaz has lost thousands of dollars in

overtime, night differential and promotional pay opportunities.

        53. By reason of the above, Plaintiff Diaz has been irreparably injured physically and

emotionally, and in character and reputation in the community, both professionally and,

otherwise, monetarly.



                                                      FIRST        CLAIM


                        (Claim Pursuat to 42 U.S.C. 1983 Against All Defendants
                                  for Violations ofthe Fourth Amendment)

        54. Plaintiff       repeats and re-alleges paragraphs 1 through 53 above as if   fully set forth


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herein.

          55. By their conduct, as described herein, and acting under color of state law to

deprive Plaintiff Diaz of her rights to be free from uneasonable searches and seizures and arest

without reasonable suspicion or probable cause as required by the Fourh and Foureenth

Amendments, Defendants are liable for violation of 42 U.S.C. § 1983 which prohibits the

deprivation under color of state law of rights secured under the United States Constitution.

          56. Each of the Defendants has acted with deliberate indifference to the Fourh

Amendment rights of Plaintiff and other similarly situated individuals. As a direct and proximate

result of Defendant's unlawfl actions, Plaintiff has suffered, and will continue to suffer

damages, including physical, mental and emotional injury and pain, mental anguish, suffering,

humiliation and embarassment.



                                                              SECOND CLAIM
                            (Claim Pursuat to 42 U.S.C. 1983 Against All Defendants
                                      for Violations of             the Fourteenth Amendment-
                                                          Deprivation of    Property)

          57. Plaintiffs repeats and re-alleges paragraphs 1 through 56 above as if             fully set forth

herein.

          58. Each of the Defendants has acted with deliberate indifference to the Foureenth

Amendment rights of Plaintiff and other similarly situted individuals. As a direct and proximate

result of the acts of each of the Defendants, Plaintiffs Fourteenth Amendment rights have been

violated. By acting under the color of law to deprive Plaintiff of her rights under the Foureenth

Amendment, the Defendants are in violation of 42 U.S.C. § 1983, which prohibits deprivation



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under color of state law of rights secured under the United States Constitution.

            59. Because Defendant's policies, practices and/or customs are without any

reasonable and/or ariculable purose, Plaintiff and other similarly situated individuals, canot

alter Defendant's behavior to avoid future violations of their constitutional rights at the hands of

Defendants City of     New York and its agencies NYPD and N.Y.C. District Attorney's Offce and

their employees, servants and agents.

           60. Plaintiff has no adequate remedy at law and wil suffer serious and irreparable


har to her constitutional rights unless Defendants are enjoined from continuing their policy,


practice and/or custom of allowing Plaintiff and individuals similarly situated, to remain in

prolonged modified duty status and experience wage losses, and that have directly and

proximately caused such constitutional violations.

           61. Furthermore, Plaintiff has been seriously damaged in lost wages experienced


since November 24, 2010 and wil experience future wage losses. Therefore, Plaintiff seeks

compensatory damages in the amount to be determined at triaL.




                                           THIRD    CLAIM


                      (Claim Pursuant to 42 U.S.C. 1983 Against All Defendants
                               for Violations of the First Amendment-
                                           Equal Protection)

           62. Plaintiffs repeats and re-alleges paragraphs 1 through 61 above as if fully set forth


herein.

           63. Defendants City of New York, and its agencies NYPD and N.Y.C. District

Attorney's Office and their employees, servants and agents, sanctioned, encouraged and utilized

an arbitrarly and capricious policy and/or practice of keeping Plaintiff and other individuals

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similarly situated without being charged with an offense or failing to adjudicate outstading

disciplinar matters in a timely fashion, and failing to equally protect and fairly treat all officers

with a non-discriminatory disciplinar system.


            64. Plaintiff Diaz has languished in the Viper Unit on modified assignment for


three years without being charged with an offense; while other officers with serious offenses are

quickly retured to full duty once their disciplinar matters are adjudicated.

            65. Employees, servants and agents of                                 Defendant City of         New York and its agencies

NYPD and N.Y.C. Distrct Attorney's Offce and their constitutional abuses and violations of                                        the

Fourteenth Amendment, in their role as state actors and acting under color of law, were and are

directly and proximately caused by policies, practices and/or customs devised, implemented and

enforced, encouraged and/or sanctioned by Defendant City of                                           New York.

            66. Each of the Defendants has acted with deliberate indifference to the Fourteenth

Amendment rights of Plaintiff and other similarly situated individuals. As a direct and proximate

result of the acts of each of the Defendants, Plaintiffs Fourteenth Amendment rights have been

violated. By acting under the color of law to deprive Plaintiff of her rights under the Foureenth

Amendment, the defendants are in violation of 42 U.S.C. § 1983, which prohibits deprivation

under color of state law of rights secured under the United States Constitution.

            67. Because Defendant's policies, practices and/or customs are without any

reasonable and/or ariculable purose, Plaintiff, and other similarly situated individuals, canot

alter Defendant's behavior to avoid futue violations of their constitutional rights at the hands of

Defendants City of             New York, and its agencies NYPD and N.Y.C. District Attorney's Offce and

their employees, servants and agents.


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          68. Plaintiff has no adequate remedy at law and will suffer serious and irreparable


har to her constitutional rights unless Defendants are enjoined from continuing their policy,


practice and/or custom of failing to administer an equal and fair disciplinar system for Plaintiff

and other individuals similarly situated, that have directly and proximately caused such

constitutional violations.




                                        FOURTH CLAIM
                      (Claim Pursuant to 42 U.S.C. 1983 Against All Defendants
                   for Violations ofthe Fourth Amendment - Due Process Rights)

          69. Plaintiff repeats and re-alleges paragraphs 1 through 68 above as if fully set forth


herein.

          70. Defendants City of New York has, acting though its NYPD, developed
implemented, sanctioned, encouraged and utilized an arbitrarily and capricious policy and/or

practice of not giving notice to Plaintiff and other individuals similarly situated of their intent

and reason to prolong their modified duty status and an opportunity to be heard and appeal said

decision.

          71. On November 24, 2010, Plaintiffs career in NYPD constructively ended when

she was falsely arested, unawflly imprisoned and subsequently placed on modified assignment

for three years without being charged with an offense.

          72. Within those three years, Plaintiff Diaz sent correspondences to NYPD's Deputy


Commissioner of Personnel requesting to know how much longer she would remain on modified

assignment and requested to be placed back on full duty.

          73. No one in NYPD responded to Plaintiffs requests.


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           74. Defendant City of New York, acting through its agency NYPD and its offcers,


supervisors and executive managers committed constitutional abuses and violations of the

Fourteenth Amendment's Due Process right, in their role as state actors and acting under color of

law, were and are directly and proximately caused by policies, practices and/or customs devised,

implemented and enforced, encouraged and/or sanctioned by Defendants City of           New York.

            75. Each of the Defendants has acted with deliberate indifference to the Foureenth

Amendment - Due Process rights of Plaintiff and other similarly situated individuals. As a direct

and proximate result of the acts of each of the Defendants, Plaintiffs Foureenth Amendment

rights have been violated. By acting under the color of law to deprive Plaintiff of her rights under

the Fourteenth Amendment, the defendants are in violation of 42 U.S.C. § 1983, which prohibits

deprivation under color of state law of rights secured under the United States Constitution.

            76. Because Defendant's policies, practices and/or customs are without any

reasonable and/or ariculable purpose, Plaintiff, and other similarly situated individuals, canot

alter Defendant's behavior to avoid futue violations of their constitutional rights at the hands of

Defendant City of            New York, acting through NYPD and its employees, servants and agents.

            77. Plaintiff has no adequate remedy at law and will suffer serious and irreparable


har to her constitutional rights unless Defendants are enjoined from continuing NYPD's policy,

practice and/or custom of denying due process rights due to Plaintiff that have directly and

proximately caused such constitutional violations.



                                                                FIFTH          CLAIM


                                                                 (Monell Claim)



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            78. Plaintiff repeats and re-alleges paragraphs 1 through 77 above as if fully set forth


herein.

            79. At all relevant times herein, Defendant City of New York, acting through its


NYPD, developed, implemented, enforced, and sanctioned de facto policies, practices and/or

customs exhibiting deliberate indifferences to Plaintiffs constitutional rights which caused the

violation of such rights.

            80. Defendant's unlawfl actions were done wilfully, knowingly and with the

specific intent to deprive Plaintiff Diaz of constitutional rights under the Fourh and Fourteenth

Amendments ofthe U.S. Constitution.

            81. The constitutional abuses and violations by Defendant City of                            New York, through

the actions of its Police Deparment and District Attorney's Offce, were and are directly and

proximately caused by policies, practices and/or customs developed, implemented, encouraged,

enforced, and sanctioned by Defendant City of                              New York, including the failure: (a) to adequately

supervise and train its offcers and agents, including the Defendants, thereby failing to


adequately discourage fuher constitutional violations on par of their police officers and

investigators; (b) to properly and adequately monitor and discipline its offcers, including

Defendants; and (c) to properly and adequately investigate complaints of police makng false

arrests and unawful imprisonment of citizens, acts of misconduct that were tolerated by

Defendant City of            New York.

            82. Upon information and belief, Defendant City of New York, acting through its

NYPD, developed, implemented, enforced, encouraged and sanctioned a de facto policy,

practice, and/or custom of unlawflly arresting without reasonable suspicion or probable cause,


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individuals who exercise their rights under the Fourth Amendment.

          83. Defendants' unlawful actions were done willfully, knowingly and with the

specific intent to deprive Plaintiff Diaz of her constitutional rights under the Fourh and

Fourteenth Amendments to the U.S. Constitution.

          84. Defendants have acted with deliberate indifference to Plaintiffs constitutional

rights. As a direct and proximate result of the acts as stated herein by each of the Defendants,

Plaintiffs constitutional rights have been violated which has caused them to suffer physical,

mental and emotional injur and pain, mental anguish, suffering, humiliation and

embarassment.

          85. Plaintiff Diaz has no adequate remedy at law and wil suffer senous and

irreparable har to their constitutional rights unless Defendants are enjoined from continuing


their unlawfl polices, practices, and/or customs which have directly and proximately caused

such constitutional abuses.


                                                  SIXTH     CLAIM


                       (Aricle I, Section 12 of           New York State Constitution)


          86. Plaintiff repeats and re-alleges paragraphs 1 through 85 above as if fully set forth


herein.

          87. The acts of Defendants, acting under color of law, in subjecting Plaintiff to

unlawfl search and seizure, and arrest without reasonable suspicion or probable cause and were

designed to, and did cause pain and suffering and emotional distress to Plaintiff in violation of

her constitutional rights as guanteed by Aricle I, Section 12 of the New York State

Constitution.

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           88. The foregoing acts and conduct of Defendants were a direct and proximate cause


of injur and damage to Plaintiff and violated her rights as guaanteed by the Constitution of the

State of   New York.



                                         SEVENTH CLAIM
                                       (State Causes - Slander)
           89. Plaintiff repeats and re-alleges paragraphs 1 through 88 above as if fully set forth


herein.

           90. That on November 24, 2010, Defendant Flores stated loudly that Claimant was

"associating with a known felon" and subsequently informed Defendant John Doe #1 - NYPD

Duty Captain of the 45th Precinct that Plaintiff Diaz was "Under!" Defendant John Doe #1 -

NYPD Duty Captain of the 45th Precinct directed that Plaintiff be placed in custody and removed

to the 43rd Precinct for interrogation.

           91. That said words were published by said Defendant to numerous law enforcement


officials in Plaintiffs home and were later published to police offcers and supervisors in her

home command, throughout the NYPD community and newspapers in the City of New York;

despite the fact that the Commanding Officer of the 43rd Precinct and an lAB Detective on

November 24,2010 were relatives that associated with George Castro, but were never charged or

arested for "associating with a known felon".

           92. That said words were defamatory per se because they concerned and were about


Plaintiff Diaz associating with a known felon, a serious employment termination offense in

NYPD, and that she was a suspect of a crime that waranted her arest.

           93. That said words were false.


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            94. That said false words were made with scienter or knowledge of falsity, falsehood


or in the alternative, were so recklessly and wantonly published as to give rise to an inference of

malice.

            95. That said Defendats caused actual and emotional damages to the Plaintiff.


                                                    EIGHTH CLAIM
                                            (State Claims - Injurous Falsehood)

            96. Plaintiff repeats and re-alleges paragraphs 1 through 94 above as if fully set forth


herein.

            97. That as a consequence of the foregoing, the words of Defendant Flores and

actions by Defendant John Doe # 1 were of a kind calculated to ostracize Plaintiff from her

NYPD community and alter the remainder of              her career.


            98. That as a result of the foregoing, both existing and potential, prospective police

officers were prevented or dissuaded from dealing with or interacting with Plaintiff.

            99. That as a result of the foregoing, Defendant Flores and Defendant John Doe #1


damaged Plaintiff in a sum to be determined at triaL.




                                                     NINTH        CLAIM


                                             (State Claim - Prima Facie Tort)

            100. Plaintiff repeats and re-alleges paragraphs 1 through 99 above as if fully set forth

herein.

            101. That the said Defendants intentionally inflicted said har upon Plaintiff as

aforesaid.



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            102. That the said Defendants did so for no valid or justifiable excuse.

            103. That as consequences of the foregoing culpable conduct by Defendants, Plaintiff

was, in fact, injured, both economically and non-economic damages, including suffering and

mental anguish.



                                                                     TENTH          CLAIM

                                                      (State Claim - Respondeat Superior)

            104. Plaintiff repeats and re-alleges paragraphs 1 through 103 above as if fully set forth

herein.

            ios. The conduct of                  Defendant Flores, Defendant John Doe #1, and Defendant John

Doe #2 occurred while they were on duty, in and during the course and scope of
                                                                                                               their duties and

fuctions as a N.Y. District Attorney's Office Investigator and/or New York City Police

Deparment Supervisors, and while they were acting as agents and employees of                                   the Defendant

City of    New York, is liable to Plaintiff under the doctrine of respondeat superior.



                                                              PRAYER FOR RELIEF

           WHEREFORE, Plaintiff                       Denise Diaz demands               judgment as follows:

           a) A declaratory judgment that the practices complained of                              herein are unlawfl under 42
                 U.S.c. § 1983, Fourh and Foureenth Amendments of                                 the United States Constitution
                 and the New York State Constitution.


           b) An injunction against Defendants and all persons acting in concert with them as
                 provided by law, from engaging in each of the unlawfl practices and policies set
                 forth herein;


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      c) Award Plaintiff Diaz compensatory damages against the Defendants, including but
         not limited to any emotional distress, recompensable costs related to criminal and
         administrative defenses, and any other compensatory damages as permitted by law
         and according to proof at trial;

         d. Award Plaintiff   punitive damages;

         e. Award attorney fees pursuant to 42 U.S.C. § 1988;

         f. Award costs of suit pursuant to 42 U .S.C. §§ 1920 1988; and,

         g. Award such other and further relief as this Court determines to be just and proper.



Dated: Bronx, New York
November 14,2013
                                                   Respectfully submitted,




                                                   By:
                                                   Ricardo A. Aguirre (RAA 7086

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                                                   Attorney for Plaintif
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